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                                                    [Docket Nos. 806, 816, 829, 831, 848]


                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA
                                                         Case No. 14-cr-699

                                                         OPINION ON MOTION FOR
 v.                                                      SENTENCE REDUCTION UNDER
                                                         18 U.S.C. § 3582(c)(1)(A)

 TOYE TUTIS                                              (COMPASSIONATE RELEASE)




       Upon motion of ☑ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

☐ GRANTED

       ☐ The defendant’s previously imposed sentence of imprisonment of

is reduced to                                    . If this sentence is less than the amount of time

the defendant already served, the sentence is reduced to a time served; or

       ☐ Time served.

       If the defendant’s sentence is reduced to time served:

                ☐     This order is stayed for up to fourteen days, for the verification of the

                      defendant’s residence and/or establishment of a release plan, to make

                      appropriate travel arrangements, and to ensure the defendant’s safe

                      release. The defendant shall be released as soon as a residence is verified,

                      a release plan is established, appropriate travel arrangements are made,
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                    and it is safe for the defendant to travel. There shall be no delay in ensuring

                    travel arrangements are made. If more than fourteen days are needed to

                    make appropriate travel arrangements and ensure the defendant’s safe

                    release, the parties shall immediately notify the court and show cause why

                    the stay should be extended; or

            ☐       There being a verified residence and an appropriate release plan in place,

                    this order is stayed for up to fourteen days to make appropriate travel

                    arrangements and to ensure the defendant’s safe release. The defendant

                    shall be released as soon as appropriate travel arrangements are made and

                    it is safe for the defendant to travel. There shall be no delay in ensuring

                    travel arrangements are made. If more than fourteen days are needed to

                    make appropriate travel arrangements and ensure the defendant’s safe

                    release, then the parties shall immediately notify the court and show cause

                    why the stay should be extended.

     ☐ The defendant must provide the complete address where the defendant will reside

     upon release to the probation office in the district where they will be released because it

     was not included in the motion for sentence reduction.

     ☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term” of

     ☐ probation or ☐ supervised release of         months (not to exceed the unserved portion

     of the original term of imprisonment).

            ☐ The defendant’s previously imposed conditions of supervised release apply to

            the “special term” of supervision; or

            ☐ The conditions of the “special term” of supervision are as follows:


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          ☐ The defendant’s previously imposed conditions of supervised release are
            unchanged.

          ☐ The defendant’s previously imposed conditions of supervised release are

          modified as follows:




   ☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS

   the United States Attorney to file a response on or before        , along with all

   Bureau of Prisons records (medical, institutional, administrative) relevant to this

   motion.

     ☑ DENIED after complete review of the motion on the merits.

             ☑ FACTORS CONSIDERED (Optional)

        Under 18 U.S.C. § 3582(c)(1)(A), a court may exercise its discretion and grant a
defendant’s motion to reduce his term of imprisonment if it finds that “extraordinary and
compelling reasons warrant such a reduction” and “such a reduction is consistent with applicable
policy statements issued by the Sentencing Commission.” Relevant here, a defendant may show
extraordinary and compelling reasons for release based on a medical condition where (1) “[t]he


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defendant is suffering from a terminal illness (i.e., a serious and advanced illness with an end of
life trajectory),” or (2) he or she is “(I) suffering from a serious physical or medical condition, (II)
suffering from a serious function or cognitive impairment, or (III) experiencing deteriorating
physical or mental health because that of the aging process, that substantially diminishes the ability
of the defendant to provide self-care within the environment of a correctional facility and from
which he or she is not expected to recover.” U.S.S.G. § 1B1.13, Application Note 1; see United
States v. Epstein, Crim. No. 14-2871, 2020 WL 2537648, at *3, at *7-8 (D.N.J. May 18, 2020).
Once a court finds that “extraordinary and compelling reasons” are present, a court must still
consider whether the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable,
weigh in favor of a defendant’s release. 18 U.S.C. § 3582(c)(1)(A); see, e.g., United States v.
Pawlowski, 967 F.3d 327, 329-30 (3d Cir. 2020). Relevant here, “the Court must conduct a highly
individualized inquiry of [the] Defendant to determine whether COVID-19 in conjunction with his
alleged underlying medical conditions constitutes an extraordinary and compelling reason for
release.” United States v. Catanzarite, No. CR 18-0362, 2020 WL 2786927, at *3 (D.N.J. May 29,
2020).

         A long series of correspondence prepared by Defendant himself has been filed with the
Court regarding his pending motion for compassionate release. [Docket Nos. 806, 816, 827, 829,
843, 844, 845, 848.] Also, Defendant’s CJA appointed counsel has now filed a formal motion and
brief on Defendant’s behalf regarding same. [Docket No. 831, 831-1.] Defendant argues that
compassionate release is warranted because he remains unvaccinated against COVID-19 and BOP
has made “no attempt … to separate vaccinated prisoners from the unvaccinated” at the Gilmer
FCI located in Glenville, West Virginia where he is currently housed. [Docket No. 816, at 2.]
Plaintiff is 49 years old and suffers from pulmonary diseases (including bronchitis) for which he
experiences wheezing, shortness of breath, and uses a CPAP machine for sleep apnea. [Docket No.
831 ¶ 4.] Plaintiff is 6’1,” weighs approximately 350 pounds, is borderline diabetic, and has a
history of ear infections. [Id. ¶ 5.] Defendant urges the Court to consider all exhibits appended to
his various filings related to his compassionate release request and provided certain articles
criticizing the Government’s response to COVID-19 in prisons. [Docket No. 806.] Defendant also
cites statistics from the Center for Disease Control that incarcerated individuals are more likely to
contract COVID-19, and that the Gilmer FCI has continued to impose quarantine orders,
illuminating the continued health risk caused by the disease. [Docket No. 816, at 1–3.] Defendant
also argues that compassionate release is warranted because other courts have granted like motions
during the COVID-19 pandemic for certain other criminal defendants and given that those
previously infected with COVID-19 can still become reinfected. [Id. at 4–5.] Defendant
acknowledges that District Courts have wide latitude to determine what constitutes an
extraordinary and compelling circumstance to warrant compassionate relief, but nonetheless urges
the Court to “reduc[e] his sentence to time-served” because of the “combination of [his] health
problems, BOP’s failure to provide adequate medical treatment for those issues, his obesity, and




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the changes made to the drug offense sentences.”1 [Id. at 7.] Defendant’s counseled brief argues
that compassionate release is warranted because “Defendant has demonstrated that he suffers from
a variety of medical conditions, is not receiving adequate medical care in prison, is a nonviolent
offender, and has good prospect to avoid recidivism upon release.” [Docket No. 131-1, at 4.]

         Consistent with this Court’s Order on May 4, 2022, requiring “a non-Camden AUSA to
draft and file the Government’s response(s),”2 the Government filed a supplemental response to
Defendant’s motion. [Docket No. 841.] In response, the Government makes three main arguments.
First, that “a COVID-19 vaccine is readily available to Defendant whenever he wants one,” and
that Defendant should not be permitted to “complain about the risks of COVID-19 yet studiously
avoid taking steps to mitigate those risks.” [Id. at 2.] Second, based on Defendant’s counseled
submission, that the argument made by Defendant is that he is “not receiving adequate medical
care as a general matter.” [Id. at 3.] The Government contends that this is a separate and distinct
concern from compassionate release and that “the compassionate release statue is not the proper
vehicle” to address this more general concern. [Id.] Finally, that the number of presently infected
inmates and staff at FCI Gilmer is not significant and weigh in favor of denying the motion. [Id.]
As of the date of this Opinion, no staff and only one inmate was positive for the virus. See, BOP,
https://www.bop.gov/coronavirus/covid19_statistics.html (last visited April 12, 2023).

        Here, the Court agrees with the Government’s position. Low and stable numbers of
infected inmates and staff at Gilmer FCI do, in fact, weigh against Defendant’s motion for
compassionate release. While the Court is sympathetic to Defendant’s concerns related to the
COVID-19 pandemic,3 Defendant has not demonstrated sufficient support for his extraordinary
and compelling reasons for compassionate release. The Court acknowledges that Defendant is
correct—individuals who are “extremely obese” are at increased risk for severe illness should they
contract COVID-19. [Docket No. 131-1, at 2 (citations omitted).] However, Defendant has failed
to provide the Court with any medical records, affidavits, or other evidence on which it can rely to
find a reasonable basis for his early release. There is simply no medical indication that infection
will put Defendant himself at greater risk. Defendant’s counsel proffers that the fact that
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  Defendant cites the Third Circuit’s recent precedential decision in United States v. Perez, 5
F.4th 390 (3d Cir. 2021). There, the Circuit held that the Sentencing Commission’s Commentary
to Section 2K2.1(b)(6)(B), which provides for enhancement when a firearm is used or possessed
in connection with another felony offense “if the firearm … facilitated, or had the potential of
facilitating, another felony offense.” Id. at 394 (citations omitted). The Circuit held that the
commentary “creates a rebuttable presumption that the enhancement should apply for a drug-
trafficking offense when a firearm is found in close proximity to drugs or related items.” Id. at
400. In any event, Perez is not applicable to the Court’s analysis of the pending motion.
2
  The Court imposed this requirement “out of an abundance of caution, and to obviate the need to
address Defendant’s allegations that [AUSA] Diana Carrig improperly accessed privileged
information regarding Defendant’s case.” [Docket No. 820.]

3
 Although the Court notes that President Biden terminated the national emergency related to the
COVID-19 pandemic on April 10, 2023. See, Statement from The White House
(https://www.whitehouse.gov/briefing-room/legislation/2023/04/10/bill-signed-h-j-res-7/) (last
visited April 12, 2023).


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Defendant “suffered hearing loss after an ear infection, while incarcerated, indicates that the BOP
is not adequately managing Defendant’s care.” [Id. at 3.] However, there is no medical evidence
that establishes what care he received or how it was inadequate. Accordingly, the Court does not
find that Defendant has provided sufficient factual support to warrant his early release. In any
event, the Court agrees with the Government that the issue of whether Defendant’s ear infection
was adequately treated is not sufficient to resolving whether he has a medical condition serious
enough to warrant compassionate relief. Defendant even concedes that his “ear complications do
not increase his risk of contracting COVID-19.” [Docket No. 831-1, at 3.] More importantly,
Defendant’s continued refusal to be vaccinated against COVID-19 undermines his motion based
upon fear of infection.

        Notwithstanding the Court’s finding that Defendant has failed to present extraordinary and
compelling reasons for compassionate release, the Court will nonetheless weigh the factors set
forth 18 U.S.C. § 3553(a), including the following:

               (1) the nature and circumstances of the offense and the history and
               characteristics of the defendant;

               (2) the need for the sentence imposed—

                       (A) to reflect the seriousness of the offense, to promote
                       respect for the law, and to provide just punishment for the
                       offense;

                       (B) to afford adequate deterrence to criminal conduct; [and]

                       (C) to protect the public from further crimes of the
                       defendant; ... [and]

               (4) the sentencing range established for[ ] the applicable category of
               offense.

18 U.S.C. § 3553(a).

        The Court finds that not only has Defendant failed to provide evidence establishing a
serious threat to his safety based on objective medical evidence, but also that consideration of the
above § 3553(a) factors weigh sharply in favor of denying his motion for compassionate release.
First, as to the nature and circumstances of the offense and the history and characteristics of the
defendant, the Court finds that this factor weighs against Defendant’s release. 18 U.S.C. §
3553(a)(1). As explained by the Government in responding to an earlier motion by Defendant for
compassionate release, Defendant’s crimes were serious to say the least. [Docket No. 768, at 6.]
Defendant operated a large-scale drug trafficking operation supplied by the Mexican Sinaloa cartel
that distributed large volumes of heroin and cocaine (more than 150 but less than 250 kilograms
of cocaine and 26 kilograms of heroin) throughout southern New Jersey. [Id.] Defendant also
unlawfully possessed three loaded firearms, a taser, and a bulletproof vest, and engaged in money
laundering in connection with the proceeds from drug trafficking. [Id. at 6–7.]



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        The Court finds that Defendant’s history and characteristics also weigh against release.
Defendant is a career offender and lifelong drug dealer with five felony drug convictions. [Id. at
7.] Further, the Court finds that there is a significant need for deterrence in this case, as well as to
protect the public given Defendant’s criminal history dealing drugs in the community. Finally, the
guideline range for Defendant’s offense was 360 months to life imprisonment (although the
Government agreed not to seek a sentence greater than 330 months). Judge Simandle already
granted Defendant a downward variance from the guidelines and sentenced him to 264 months
imprisonment. [Docket No. 584.] More importantly, Defendant has served less than half of his
sentence, or approximately 101 months to date, and with good-time credit has a projected release
date of December 13, 2033. Releasing Defendant more than ten years early, given his criminal
history and the circumstances surrounding his most recent offense, would undermine the intended
purpose of deterring such conduct and criminal behavior. Accordingly, this factor weighs against
Defendant’s release.

        In that regard, the Court finds that because the sentence imposed is necessary to reflect the
seriousness of the offense, criminal history of Defendant, to deter future criminal conduct, and to
protect the public from further crimes, Defendant’s release is not warranted.

       For the foregoing reasons, Defendant's Motion for Compassionate Release [Docket Nos.
806, 816, 829, 831, 848] is DENIED. An accompanying Order of today’s date shall issue.


       April 12, 2023                                          s/Renée Marie Bumb
       Date                                                    Renée Marie Bumb
                                                               U.S. Chief District Judge




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